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 6                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8   TERADATA CORPORATION, TERADATA
     US, INC., and TERADATA OPERATIONS,                    CASE NO. 20-mc-0074 RSM
 9   INC.
10                                                         ORDER
                                    Plaintiffs,
11                  v.
12   SAP SE, SAP AMERICA, INC., and SAP                    Underlying Action:
     LABS, LLC,                                            Case No. 3:18-cv-3670-WHO (N.D. Cal.)
13
                                    Defendants.
14

15          Plaintiffs filed this action alleging that Microsoft had not complied with a subpoena issued

16   in an out-of-district antitrust matter, proceeding in the Northern District of California and to which

17   Microsoft was not a party, and seeking an order forcing Microsoft’s compliance. Dkt. #1

18   (Plaintiff’s Motion to Compel Discovery from Microsoft Corporation). Prior to their motion’s

19   noting date, Plaintiffs filed notice with the Court that they were withdrawing their motion. Dkt.

20   #11 at 1. As Plaintiff’s motion has been withdrawn without prejudice and because this Order

21   otherwise resolves all pending issues, this action shall be closed.

22          Concurrent with their withdrawal of their motion, Plaintiffs sought to withdraw certain

23   materials from the record. Id. Plaintiffs indicate that David D. Cross’ declaration in support of

24   their motion to compel “inadvertently included an exhibit . . . that was designated confidential

25   pursuant to a protective order in the underlying litigation.” Id. Plaintiffs do not specifically

26   identify the confidential information, but it appears that Plaintiffs refer to Exhibit 3 to the Cross
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 1   declaration. See Dkt. #1-1 at 88–118 (including discovery responses from Defendants marked as

 2   “HIGHLY CONFIDENTIAL ATTORNEYS’ EYES ONLY”). The dispute before the Court

 3   relates to discovery, is only tangentially related to the parties’ underlying litigation, and Plaintiffs’

 4   have withdrawn their motion to compel. See Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,

 5   307 F.3d 1206, 1210 (9th Cir. 2002) (applying “good cause” standard to protection of discovery

 6   materials); Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1098 (9th Cir. 2016)

 7   (advising that public access should “turn on whether the motion is more than tangentially related

 8   to the merits of a case); LCR 5(g)(6) (contemplating requests to withdraw documents where filed

 9   materials will not be sealed). Accordingly, the Court finds good cause to grant withdrawal of the

10   exhibit previously designated as confidential. Plaintiffs, however, shall file a redacted copy of the

11   Cross declaration omitting only the confidential exhibit.

12           Accordingly, having considered the matter, the Court finds and ORDERS that:

13       1. Plaintiffs’ Motion to Compel Discovery from Microsoft Corporation (Dkt. #1) is

14           withdrawn and TERMINATED.

15       2. The Court GRANTS Plaintiffs’ request to withdraw Exhibit 3 to the Cross declaration

16           (Dkt. #1-1 at 88–118).

17       3. The Clerk shall WITHDRAW, by striking and sealing, the Declaration of David D. Cross

18           in Support of Teradata’s Motion to Compel Discovery from Microsoft (Dkt. #1-1).

19       4. Within seven (7) days of this Order, Plaintiffs shall refile the Declaration of David D.

20           Cross in Support of Teradata’s Motion to Compel Discovery from Microsoft (Dkt. #1-1)

21           but omitting Exhibit 3 thereto (Dkt. #1-1 at 88–118).

22       5. This matter is CLOSED.

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 2   Dated this 21st day of September, 2020.
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                                          RICARDO S. MARTINEZ
 6                                        CHIEF UNITED STATES DISTRICT JUDGE

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